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EASTERN DIVISION
ANTl-I(JN`Y SAFFORD,
Plaintit`f,
v.
07CV52 76
ANDREW JANIK, Star Nn. 10860, JU DGE COAR

A'NTHONY BRUNO, star Na. 12212,
manan GFFICERS, TERRY HILLARD, N| AG_ JUDGE |(EYS

Leai LIGHTFC)(;)T, TlsA Mt;)aais, PHILLIP _ ____ ____ `__ `
CLINE, MAYea RICHARD DALEY, ana am
errY' ea cnrcAee,

 

Det`endants.
CGMPLAINT AT LAW
NOW COMES the PLAINTTFF, by and through the _`LAW OFFICES OF BLAKE
[-IORWITZ, LTD._, and pursuant to this Coluplaint at Law, states the following against the above
l named Defend.ants, te Wit ANDREW .lANlK_, Star No. 10860, ANTHONY BRUNO, Star Ne. h
l` 12212, LiNKNGWN ()FFICERS {`hereinaher, the “DEFENDANT GFFICERS"), TERRY
`HILLARD, LORI LIGI-ITFOOT, TISA MORRIS, MAYOR DALEY and PI-IILIP CLINE
(hereinafter, the “SUPERVISORY DEFENDANTS”)_, and the CITY OF CHICAGO.
Juarsnic'rren
1. The jurisdiction of the court is invoked pursuant to the Civil Rights Act, 42 U.S.C, §
`1983; the .Tudieia] Cc_)de, 23 U.S.C. §1331 and §1343(a); the Censtitutiou e‘l'lhe Unitcd States;-and
` this Ceurt’s supplementary jurisdiction pnwers.

PARTIES

2. PLAI'NTIFF is a resident et` the State Ot`]llineis and a citizen of the United Slates. t

 

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3. 'l`he DEFENDANT Ol*`l*`lClisS Were at all times relevant hereto employed by and acting
on behalf of the CI'I`Y OF (`_`.l-llCAGO.

4. T he CITY OF CHICAGO is a duly incorporated municipal corporation and is the
employer and principal of the Dl£`l"*`ENDANT CIFFIC.ERS as Well as the other officers and/or
employees referred to in this Complaint (as indicated in the Monell claim alleged hercin). At all
times material to this complaint, the DEFENDANT OFFIC.ERS were acting under color o;I` state
laW, ordinance and/or regulation_, statutes, custom and usages of the CITY OF CHICAGO.

5. RICI-IARD DALEY was and is the acting mayor for the ClTY (JF CHICAGO.

6. PHII_.IP (`_`.LINE Was the acting superintendent of police for the Chicago Policc
Department.

7. TERRY l-IILLARD Was the acting superintendent of police for the Chieago Policc
Department. l

8. LOR_I I_JGHTF()(.]T was the Chief Administrator o'l:` the Chieago Policc Department’$
Office of Professional Sta;ndards (OPS) from August 2002 to .luly 2004.

9. TISA MORRIS Was the Chief Administrator of the Chieago Policc Department’s ()PS
from .lul}7 2004 to (`)etober 2006.

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10. l_lpon information and `belief, Plaintiffwas taken into custody on or about July 17, 2007
based on the alleged representations ol`a woman that Plaintiff had committed a criminal offense.

l l. During the course of the arrest, some of the DEFENDANT (.)FFICERS planted

contraband on the PLAINTIFF.

 

 

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12. When PLA]'NTIFF was brought down to the police statiorr, he was beaten. PLAINTIFF
was struck, inter alia with a rubber hose, a telephone book and a plastic bottle. Plaintiff was also
struck in transit to the police station

13. There was no legitimate reason for the beating that PLAINTIFF sustained

14, "l`his beating amounted to tortnrc.

15. PLATNTIFF was not provided medical treatment after the beating.

16. The beating was designed to extracts confession from and/or intimidate the PLAINTIFF
notwithstanding the fact that PI\JAINTIFF had not committed a crin‘te.

]7. (`)n or about July 17, 2007, PLATNTIFF did not obstruct justice, resist arrest and/or hatter
and/or assault any ol` the DEFENDANT OFFICERS.

18. Tbe show of force initiated by and/or the failure to intervene in the use of said force by
the DEFENDANT OFFICERS caused an unreasonable seizure to the PLAINT]FF.

19. Fl`he DEFENDAN'I` OFFICERS charged and/or participated in the charging of
PLAINTIFF With criminal activity. The DEl~`ENDANT OFFICERLS did not have probable cause
to believe that criminal activity took place relative to the PLAINTIFF, for the charges that said
oi`iicers lodged against the PLAINTIFF. The charges were lodged against the PLAINTIFF,
maliciously.

20, ()n .luly 'l'/', 2007, Pl_.AlN"l`IFF had not committed an act contrary to the laws of the State
of lllinois.

21, As a direct and proximate result of one or more of the aforesaid acts or omissions of the
DEl*`]INDAN'l` OFFICERS, .PLAINTIFF Was caused to suffer damages.

22_ {)n or about .luly l?, 2001 the DEFENDANT OFFICERS Were on duty at all times

relevant to this complaint and were duly appointed police officers for the CIT`Y OF CI-IICAGO.

 

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The DEFENDANT C)l"FlCERS engaged in the conduct complained of, on said date_, in the course
and scope of employment and while on duty. This action is being brought with regard to the
individual capacity of the DEFENDAN'l` OFFTCERS.

23. Upon information and beliel", AN`DREW JANIK, Star No. 10360, on July 17, 2007_, came
into physical contact with PLATNTll*`l".

24. Upon information and belief, AN']`HONY BRUNO, Star No. 12212, on .luly 17, 200?,
came into physical contact with PLAlNTIFF.

25. Upon information and belief, UNKNO`WN OFFlCERS_, on July 17, 2007, came into
physical contact with PLAIN'l`IFF.

CONSPIRACY

26. Somc cr all of the DEFENDANI` OFFICERS conspired to cause damage to PLA.INTIFF

in the following manner::

a. agreeing to falsely arrest and/or falsely institute criminal
charges/proceedings against the PLAINTIFF;

b. using excessive force and/or failing to intervene in the use
of excessive force against the PLAI'NTIFF;

c. agreeing not to report each other after witnessing and/or
using excessive force relative to the PLAINTIFF;

d. agreeing not to report each other after ;I"alsely charging
PI_,AIN'l`IFF;

e. generating false documentation to cover-up for their own
and each other’s misconduct;

27. In connection with the above conspiracy, the DEFENDANT ()Fl-`*`ICERS specifically
engaged in communication on or about .iuly 17, 2007_. whereby the DEFENDAN'I` OFFICERS
agreed to facilitatc_, engage in and support the activity which occurred in connection with the

allegations immediately above. As a result of this conspiracy, the DEl"`ENDAN'l` OFFICERS by

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and through their eonduct, proximately caused PLAINTIFF to, inn-ir aiid, suffer injury, be l
charged with criminal allegations, incur financial loss, including attorney’s fees, and suffer
emotionally.

EQUAL PR(]'I`ECTION

2it. The actions of the DEFENDANT t)FFle`RS, in engaging in the above referenced cover-
up, which led to the generation of false documentation and criminal charges to be lodged against
PLAIN'l`IFF, demonstrate that the DEFENDANT OFFICERS failed in their duty to enforce the
laws equally and fairly towards the Pl_,All\lTlFF, therefore violating the Equal Protection C.lause
ofthe liourteenth Amendmcnt to the United States Constitution.l

29. in connection with the Equal Protection Claim, PLAINTTFF is a member of a protected
class (African American) and PLAlN'l`IFF was treated differently by the DEFENDANT
OFFT.CERS as a result. The DEFENDAN'I` Oli`FICER`S acted with discriminatory intent by
treating PLAINTIFF d.iflerently, trying to cause further injury to PLAINTIFF by illegally
generating false evidence against and criminally charging PI.lAlN'l`ll*`F, specifically due to the
status ol`PllAlNTlFi" as Afriean American.

30. ln the al ternative_, with regard to an Equal Protection Claim, PLAINTTFF was a ‘“Class of
Onc."" In that regard, PLA[NT]FF was treated with ill will and/or discriminated against with no
rational basis. PLAI'NTIFF was intentionally treated differently as a result of having a potential
claim and witnessing police misconduct attributable to the DEFENDANT OF`FICERS`. The
DEFENDANT OFFICER.S acted with discriminatory intent by treating PLAINTIFF differently
and trying to cause further injury to PLA]'NTIFF by generating false evidence against

PlsAlN't`ll"F. Further_, PLAINTIFF was similarly situated to other individuals involved in

 

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incidents with police o‘l`licers that were not the victims cf police misconduct and/potential

claimants against Chieago Policc Offieers.

MONELL ALLEGATIONS

31. lt is the custoin, practice and/or policy of police officers and/cr their supervisors/agents

and/or other employees of the CITY 017 CHICAGO to perform the following acts and/or

omissions:

generate false documentation to cover-up for the misconduct of fellow police
officers;

engage in acts of planting of drugs, guns, and other false evidence and/or
contraband, malicious prosecution, misrepresentation of facts, beating o|` arrestees
in police station, significant intrusions to the body of innocent citizens, excessive
force, and/or serious acts of violence;

fail to properly discipline officers from said police department who have
committed act(s) of planting of drugs, guns_., and other false evidence and/or
contraband, malicious prosecution, misrepresentation of facts, beating of arrestees
in police station, significant intrusions to the body of innocent citizens, excessive
force, and/or serious acts of violence;

fail to properly investigate a complaint of planting of drugs, guns, and other false
evidence and/or contraband, malicious prcsecution, misrepresentation of facts,
beating of arrestees in police station, significant intrusions to the body ofinnocent
citizens_, excessive liorce, and/or serious acts of violence perpetrated by a CITY
OF CI'IICAGO police officer upon another;

fail to take proper remedial action against a Ci'i"r’ OF CHICAGO police officer
once it is determined that an act of planting ofdrugs, guns, and other false
evidence and/or contraband, malicious prosccution, misrepresentation of facts,
beating of arrestees in police station, significant intrusions to the body of innocent
citi'.r.ens, excessive forcc, and/or serious acts of violence has been committed by
said officer upon another;

allow misconduct to occur in various types and severity such that police officers
believe that they can engage in planting ofdrugs, guns, and other false evidence
and/or contraband, malicious prosecution, misrepresentation of facts, beating of
arrestees in police station, significant intrusions tol the body ofinnocent eitir.ens,
excessive force, and/or serious acts of violence without repercussions and;'or
significant repercussions;

 

 

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g. fail to provide adequate sanctions/discipline to officers who commit planting of

drugs, guns_, and other false evidence and/or contraband, malicious prosecution,
misrepresentation of facts, beating of arrestees in police station, significant
intrusions to the body of innocent citizens, excessive force, and/or serious acts of
violence, such that a permissive atmosphere exists;among officers wherein they
believe that they will not be disciplined (or significantly disciplined`) for engaging
in such behavior;

fail to provide adequate sanctions/discipline to officers who falsify police reports,
investigations and/or internal investigations, causing said officers to believe that
they can manufacture evidence which will cause them to not be disciplined or
significantly disciplined for engaging in illegal behavior, inter alia planting of
drugs, guns, and other false evidence and/or contraband, malicious prosecution,
n‘tisrepresentation of facts, beating of arrestees in police station, significant
intrusions to the body of innocent citizens, excessive foree, and/or serious acts of
violence;

fail to provide adequate sanctions/discipline to officers who falsify police reports,
investigations and/or internal investigations, causing said officers to believe that
they can manufacture evidence which will cause them to not be disciplined or
significantly disciplined for engaging in behavior which violates the rules,
policies and/or procedures of the CITY OF Cl-IICAGO police department;

fail to properly investigate officers who falsify police reports1 investigations
and/or internal investigations_, causing said officers to believe that they can
manufacture evidence which will cause them to not be disciplined or significantly
disciplined for engaging in behavior which violates the rules, policies and/or
procedures of the CITY C)lr` CI-iiCAGO police department_;

fail to take proper remedial measures to prevent and/or correct officers who
falsify police reports, investigations and/or internal investigations, causing said
officers to believe that they can manufacture evidence which will cause them to
not be disciplined or significantly disciplined for engaging in illegal behavior_,
inter alia planting ofdrugs, guns, and other false evidence and/or contraband,
malicious prosecution, misrepresentation of facts, beating of arrestees in police
station, significant intrusions to the body cf innocent citizens, excessive force,
and/or serious acts of violence;

fail to take proper remedial measures to prevent and/or contact officers who
falsify police reports, investigations and/or internal investigations, causing said
officers to believe that they can manufacture evidence which will cause them tc
not be disciplined or significantly disciplined for engaging in behavior which
violates the rules, policies and/or procedures of the CITY OF Cll~llCAGO police
department;

 

 

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m. fail to properly investigate officers who commit acts ofplanting of drugs_, gunsj
and other false evidence and/or contraband, malicious prosecution,
misrepresentation of facts, beating oi` arrestees in police station, significant
intrusions to the body of innocent citizens, excessive force, and/or serious acts of
violence such that a permissive atmosphere exists among officers wherein they
believe that they will not be disciplined (or significantly disciplined) for engaging
in misconduct with citizens;

n. fail to take proper remedial action with officers who commit acts of`planting of
drugs, guns, and other false evidence and/or eontraband, malicious prosecution,
misrepresentation of facts, beating of arrestees in police station, significant
intrusions to the body of innocent citir.ens, excessive force, and/or serious acts of
violence, such that a permissive atmosphere exists_among officers wherein they
believe that they will not be disciplined (or significantly diseiplined) for engaging
in misconduct with citizens;

o. fail to provide proper training to prevent officers from falsifying police repo1ts,
falsely charging i1mccent citizens, committing acts of planting of drugs, guns, and
other false evidence and/or contraband_, malicious prosecution, misrepresentation
of facts, beating of arrestees in police station, significant intrusions to the body of
innocent eitizens, excessive force, and/or serious acts of violenee, and violating
the rules, policies and procedures of the CI"I`Y OF CHICAGO police department

p. failing to properly investigate incidents of torture and/or coerced confessions in
the present and past, resulting in the `belief, amongChicago Policc Offieers that
they can coerce confessions out of arrestees and/or torture arrestees without
consequences, punishment and/or discipline

q. failing to properly discipline andfor criminally investigate (to ultimately
prosecutc`) police officers who engaged in acts of torture and/or coerced
confessions, resulting in the belief, among Chieago Policc Officers that they can
coerce confessions out of arrestees and/or torture arrestees without
consequenees/punishment and/or disciplinel

32. l`his practice and/or custom, as alleged above, has gone unchecked and been allowed to
exist in the CITY ()F Cl-llCACrO for a significant period of time_, so much so, that police officers
for the Cl'l`Y till*` C`.HICAGO recognize that they will not be punished for committing said acts

and that, in fact, said acts are either permitted or quietly consented to by superior officers ol' the

CTTY OF CHICAGO police department in order to permit said conduct to re-oecur.

 

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33. A code of silence exists between officers of the Defendant Municipality. This code of
silence obstructs the legal process (preventing the free flow of honest information with regard to
acts of misconduct). This code of silence contributes to the generation of secrets, in the
department_, regarding police officer misconduct

SFECIAL OPERATIONS ()FFICERS

34. Bctween the years 2001 and 2006, there were at least 662 Chicago police officers that
received at least ten civilian complaints lodged against them.

35. T he Cl'fY OF Cl-llCAGO possesses the names of the 662 police officers that have
received at least ten civilian complaints lodged against them, between the years 2001 and 2006,
36. Between the years 2001 and 2006, there were at least 662 Chicago police officers that
worked in a unit called “Speeial Operations,” that received at least ten civilian complaints lodged

against them (these officers shall be referred to, herein, as l“S»peciai C)perations Officers”).

37. The civilian complaints lodged against the Special Operations Of`ficers have not been
properly investigated by the Chieago Policc Department. z

38. ln the year 2007, an order was entered by the HON(.)RABLE JUDGE LEFK()W
regarding the Speeial Operations Officers for the City of Chicago. The order provided, inter ofia,
that the parties were permitted to make public the names of 662 fripeeial Operations Officcrs that
had ten or more civilian complaints lodged against them.

39. The ClTY ()l*` Cl-llCAGO refuses to release the names of the Special Operations
Officers, referenced in the order of the HONGRABLE .lUDGl:` LEI*`KOW, to the publie.

40. 'I`here are at least four police officers who worked in the Special Operations Section of

the Chicago Policc Department who have received at least 50 complaints of misconduct

 

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41. Within the last four years1 six police officers who were members of the Special
(_`lperations Section of the City of Chicago have been indicted for robbing and kidnapping
individuals

42. There are ten police officers who worked in the Special Operations Section who received
a combined total of 408 complaints of misconduct (with the Ol`fice ofProfessional Standards).
With regard to those 408 complaints, only three were sustained.

43. Of the ten Special Operations Officers that received a combined total icf-1108 complaints, '
one officer, who was accused of misconduct 55 times, has never received a complaint that has
been sustained.

GFFICE OF PROFESSIONAL STANDARDS (OPS_)

-44. Lcss then one percent of the charges of misconduct that have been lodged against
Chicago Policc Oi`ficers, through the f_)ffiee of Professional Standards (hereinafter “OPS”), over
the last ten years, have resulted in a “sustained finding” against said officer.

45. 'l`he OPS is fully funded by the City lofChicago.

46. The OPS, over the last 10 years, has been managed by an individual that has been
appointed by the l\/layor ofthe City of Chicago.

47. The OPS, over the last 20 years_, has been managed by an individual that has been
appointed by the Mayor of the City of Chieago.

48. Over the last 10 years, there has not been an entity and/or agency, not employed by the
City of C.hieago, that has reviewed the decisions of OPS to determine whether or not an individual
police officer should receive a sustained findingl as that term is defined by OPS.

49. Over the last 20 years, there has not been an entity and/or agency, not employed by the

City of Chicago, that has reviewed the decisions of Ol’S to determine whether or not an individual

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police officer should receive a sustained finding, as that term is defined by the Chicago Policc
Department.

50. ()ver thc last 20 years, there has not been an entity and/or agency, not employed by the
City ol` Chicago, that has reviewed the work performed by OPS tol determine whether OPS is
properly investigating the complaints of misconduct of Chieago Policc Officers.

51. Due to the intimate connection between the OPS and the Mayor of the City of Chicago as
well as other politicians of the City of Chicago, there is a lack of independent review of
misconduct of Clhicago Policc f_`)fficers.

52. l*`or example, Officer Raymond Piwnicki obtained 56 complaints against him within
seven years and failed to receive meaningful discipline for any act cf misconduct

53. Uffieer ch Hayes received over 65 complaints of misconduct lodged against him, as
well as ten lawsuits, amounting to over 2.5 million dollars that had to be paid out of City tax

dollars as a result of the litigation.

PARTICULARIZED MISCONDUCT ()F
CER'I`AIN ()]i`FICERSl

54. Chicago Policc Of`ficer Broderiek .1oncs has pled guilty, in Federal Court:l before the
l-lonorablc judge Gt\zman, of engaging in multiple acts of racketeering aetivity, to wit: possession
of cocaine with the intent to distribute_, robbery and extortion.

55. fn his plea of guilty, Broderick Jones admitted that he committed robbery, extortion and
possession of cocaine with the intent to distribute, while he was working for the Chicago Police
Department and while he was acting in the capacity of a Chicago Policc Officer. He also

admitted to undertaking these efforts from 1999 through lvlareh 2005.

 

' These allegations serve as examples of misconduct by Chicago Policc ()f`ficers, as well as the failure of the
Chleago Policc Department and OFS to monitor itself.

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56. Chicago Poliee Officer Corey Flagg pled guilty, before the Honorable Judge Guzman, in
Federal Court, to having conspired, along with Chieago Policc Of`ficers, Eural Black, l)arek
I-laynes, Broderick .1 ones and others, to intentionally possessing and distributing cocaine and

marijuana

57. Corey Flagg pled guilty to having worked with ]Eural Black, Darek Haynes and Broderick
.1ones to obtain cocaine_, marijuana and drug money, through robbery and extortion.

58. Corey l~`lagg_, in his plea of guilty, stated that he understood that any cocaine and
marijuana obtained during the course of his criminal efforts would be distributed to the people he
was criminally involved with (i.e. Eural Black', Darek Haynes and Broderick lones).

59. Corey Flagg admitted, in his plea agreement, that while he was a Chicago Policc Off'icer,
he knew that Brodericl< J ones recruited Chicago Police Ofiiccrs, including himself and ()ffieer
Haynes, to conduct vehicle stops and horne invasions in order to illegally obtain drugs, money
and weapons

60. Corey l*`lagg, in his plea of guilty, recognized that he and other Chieago Policc Of`ficers
used their power, authority and official position as Chicago Policc Officers to promote and protect
their illegal activities, as mentioned above.

61. l:`,ural Black, previously a Chicago Policc Officer, was found guilty of the following, by a
Jury, in the City of"Chieago, before the llonorable lodge Hi`bbler:

a. attempting to conspire and distribute controlled substanecs;

b. multiple acts of robbery and, racketeering;l

e. the procurement of weapons from individuals through robbery and extortion;

d. recruiting Chicago Policc Officers to conduct vehicle stops and home invasions of

others to illegally obtain money, weapons and controlled substances;

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delivering controlled substances in exchange for cash;

not enforcing the law with individuals that he was involved so that he could

promote criminal aetivity;
along with Eural Black, Ccrey .Flagg, Darek l'layn'es and non»Chicago Policc
Officers_, distributing cocaine (up to 5 kilograms);

. distributing cocaine in exchange for cash;
conducting home invasions of individuals (along with C‘orey Flagg, Eural Black
and Darek l-laynes) for the purpose of obtaining money, property, weapons and

controlled substances;.

 

j. using the power of his office as a Ch.icago Policc C)fiicer to engage in the above
(a-i) acts;

k. using the facilities of the Chicago Policc Department, namely his badge, gun,
bullet proof vest and handcuffsl to promote his illegal activity (a-i).

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aLAcK, FLAGG, .1ones ANo HAYNEs

62. florey Flagg, prior to being charged lwith criminal activity, possessed over 10 complaints
ofmisconduct_, none of which were sustained by the Chicago Policc f)epartment.

63. Corey Flagg has had no less then 15 federal lawsuits filed against him for civil rights
violations for activity that occurred while he was employed as a police officer for the ClT"r' ()F
CH.ICAG(_).

64. Eural Black, prior to being charged with criminal activity, possessed over 10 complaints
o f misconduet, none of which were sustained by the Chicago Policc Dcpartment.

65. Broderick .lones, prior to being charged with criminal activity, possessed over 10

complaints of misconductj none of which were sustained by the C`hicago Police Departmcnt.

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66. Darek Haynes has had no less then 15 federal lawsuits filed against him for civil rights
violations for activity that occurred while he was employed as a police officer for the (_`.l'l`Y OF
ClllCAGO.

67. Darek llaynes, prior to being charged o f" criminal aetivity,_ possessed over 10 complaints
ol`niiseonduct_. none of which were sustained by the Chicago Policc Department.

LAWLESSNESS IN ']`HFJ CHICAGU POLICE ])EPARTMENT AND ITS
CONNECTI(.}N 'l`(] 'l`I'IE PULITICAL SCHEME OF THE CITY OF CHICAG{)

68. l_)ue to the lack of legitimate review of misconduct by Chica.go Policc fJfficers, many
police officers for the City ofChicago believe that they can engage in lawless activities

69. 'l`he financial relationship between the City of Chicago and the OPS is such that the OPS
can not be independent

70. This is due to the fact that, inter ofio, if a determination is made, by t`)PS, that a police
officer has committed an act ol`misconduct, said determination and the facts which flow from
said determination, may be used by the victim, against whom the misconduct was inflicted, to
receive a monetary award and/or settlement against thc City of Chicago.

71. fn other words, if OPS renders a decision that a complaint should be sustained against an
officer, the complainant may use the information gathered, as well as the fact that the complaint
has been sustaincd, against the officer in a civil proceeding, to receive compensationl

?2. Sustained complaints by UPS dramatically increases the likelihood that the City of
Chicago will have to indemnify the officer for the misconduct inflicted by said officerr

73. Due to the structure of ()PS and its intimate connection with the City of Chicago, OPS
has been an illegitimate entity to investigate the misconduct of Chicago Poliee Ufficers.

74. Due to the structure of (.)PS and its intimate connection with the City of Chicago,

Chicago Policc ()fficers have been able to engage in significant acts of lawlessness

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75. lt is due to these lawless activities that the constitutional rights of citizens become
in fringed, as police officers believe that they will be protected by OPS, which is, in turn,
protected by the lvlayor of the City of`Chicago who appoints the person in charge of OPS.

MlSCELLA.NEOUS FACTS REGARI)ING M()NELL LIABILITY

76. ln the year of 2000, a resolution was submitted to City Couneil stating, in part, that
C`.hieago Policc officers who do not carry out their responsibilities in a professional manner have
ample reason to believe that they will not bc held accountable for misconductl

77. William l\d. Beavers was an Alderman for the City of Chicago. ln the year 20001 he Was
Chainnan of the Committee on Policc and f`ire of the Chicago City Council.

'/'t`t. Alderman Beavers submitted a resolution to City Council for the City of Chicago, which
stated, among other things, that there exists “an environment where police officers who do not
carry out their responsibilities in a professional manner have ample reason to believe that they
will not be held accountable even in instances of egregious misconduetr”

79. lodge l-foldcrman is a F ederal .1 udge presiding in the Nortliern ]Jistrict of lllinois.

80. .l`udge llolderman wrote a legal opinion in (_i'rzreio v. C'iifv ofChz'eogo, 2003 U.S. Dist.,
1.,EXIS, 16565 (N.D. lll. Sep., 19, 2003_).

81. lathe legal opinion authored by ludge Holderman_, he stated, in significant part, that the
City’s police abuse investigations Were inccn"tplete, inconsistent, delaycd, and slanted in favor of
the officers.

82. Notwithstanding the fact that there is significant and credible evidence of torture that
occurred in (_`.hicago Police Departments, from the 1980’s the `1990’s, there has not been one

Chicago Policc Oi`ficer that has been punished_, sanctioned and/or disciplined for same. This has

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occurred as a result of the intimate connection between OPS, the Mayor, and the Chicago Policc
l_)epartment.

83. `l\`fotwithstanding the fact that there is significant and credible evidence of torture that
occurred in Chicago Policc Dcpartments, from the 19110’s the 1990'sy and the fact that the Mayor
acknowledges that he failed to properly investigate torture that occurred by Chicago Policc
Of`ficers while he was Cook County State’s attorney, there has not been one Chicago Policc
Officer that has been punished, sanctioned and/or disciplined for same. This has occurred as a
result of the intimate connection between GPS_, the Mayor, and the lf:fhicago Policc Department.

BRAINMAKER

84. ln 1995, the City of Chicago became aware of the Brainl\/Iaker program.

115. “Brainl\/Iaker"’ is a software product which can be used as an assistive device to forecast
which officers on the police force are potential candidates for misbehavior.

86. The Department's lnternal Affairs Division used Brainl\/lakcr to study 200 officers who
had been temiinated for disciplinary reasons and developed a database of patterns of
characteristies, behaviors and demographics found among the 200 police officers.

87. The purpose of this study was to try to predict and/or understand the misbehavior of
Chicago Policc Offieers.

38. BrainMaker compared current officers against the pattern gleaned from the 200 member
control group and produced a list of officers Who, by virtue of matching the pattern or sharing
questionable characteristics, were deemed to be "at risk."

39. Brainl\/laker was used to study the records of 12,500 police officers (records that included
such information as age, education, sex, racc, number of traffic accidents_, reports of lost weapons

or badges, marital status, performance reports and frequency of sick leaves).

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90. The results ofthe Brainl\daker study demonstrated that there were 91 at-risk Chicago
Poliee ()l`ficers. Ofthose 91 people, nearly half were found to be already enrolled in a counseling
program founded by the personnel department to help officers that were found to have engaged in
acts of misconduct

91. Terry lleckatt, a graduate student at Ohio's Bowling (]rcen State t_fniversity,
recommended BrainMalrer to OPS and/or the Office of lnternal Affairs.

92. Notwithstanding the assistance that Brainlviaker provided to the City of Chicago, the
City, through its agents_, abandoned the project, further demonstrating the inherent difficulty in
having the City of Chicago police itself.

COUNT I
§1983 lilxeessive Force

93. F'LAINTIFF re-alleges paragraphs 1 - 92 as though fully set forth herein

94. vl"he actions of the DEFENDAN'I` ()FFICERS amount to an excessive use offeree onto
PLAlN'l`lFF. This conduct violates the Fourth Amendment of the United States Constitution.

95. The aforementioned actions of the DEP`ENDAN'l` ()FFlCERS were the direct and
proximate cause of the constitutional violations set forth above.

WHERF,F()RE: Pl,A.l.NTlFF demands compensatory damages from the DEFENDANT
OFFICERS. PLAlNTIFF also demands punitive damagcs, costs and attorncy's fees against the
DEl"ENDAN'l` ()FFIC.ERS. `Pl..AlNTlFF also demands whatever additional relief this Court
deems equitable and just.

COUN'I` 11
Bntter_*y -‘~ltate Claim

96. Pl`iAli\lTlFF re-alleges paragraphs l - 92 as though fully set forth herein

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97. The DEFENDANT OFFICERS struck the PLAlNTlFF intentionally, without consent and
without justification

98. The conduct of the DEFENDA`NT OFFICERS was in violation of illinois llaw.

99. The aforementioned actions of the DEFENDANT OFFICERS were the direct and
proximate cause cf the violations set forth above.

WHEREFORE, PLAlN'l`lFF demands compensatory damages from the DEFENDANT
t)l*`l*`lCERS. PliAll\f'leF also demands punitive damages and costs against the DEFENDANT
DFFICERS. PLAl'NTlFF also demands whatever additional relief this Court deems equitable

and just.

§M
Malicious Proseg_rtion » State Claim

100. PLAlNTlFF` re~allcgcs paragraphs 1 92 as though fully set forth herein

101. The DEFENDANT OFFlCTERS alleged that PLAlN'leF violated the laws of the State of
lllinois. 'l`hese allegations commenced cr continued a criminal proceeding against PLAlNTlFF.

102. The DEFENDANT OFFICF.RS engaged in this effort without probable cause.

103. 'l`he underlying criminal charges were ultimately resolved in favor ofPLAlNTlFF.

104. The underlying criminal charges were resolved in a manner indicative of innocence

105. The aforementioned actions were the direct and proximate cause of the violations of
lllinois State Law, as set lbrth above.

Wl-lls`ltls`l"ORE, l’l,All\l'l`ll"li demands compensatory damages from the DEFENDANT
t`)li`l"lCERS. PI_,ATNTIFF also demands punitive damages and costs against the DEFENDA`N'l`
OFFICERS. PLAINTIFF also demands whatever additional relief this Court deems equitable

and just.

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` couNT rv
ii 1983 Deliberate Indifferenee to Medical Needs

106. PLA].'NTIFF re-alleges paragraphs 1 _ 92 as though fully set forth herein

10?. The actions of the DEFENDAN'l` OFFICER.S was deliberately indifferent to the medical
needs of the PLAlN'fli"l"` in that said OFFICERS failed to provide l"l.,All\lTlFF with immediate
medical attention after causing injury to PLAlNTlFF.

103. Said OFFlCERS, instead of transporting l’l ,A|N'l`ll*`li for immediate medical treatment,
collectively and/or individually, sought to cover-up the misconduct by processing PLAl'NTlFF as
a crimina.l, instead c f providing immediate medical treatmentl

109. 'l`his conduct violated the Fourtcenth Amendment to the United States Constitution.

110. The aforementioned actions of said OFFICERS were the direct and proximate cause of
the constitutional violations set forth above.

Wl-lEREFOR.E, PllAlN'l.`lFl" demands compensatory damages from the DEFENDANT
()FFICERS. PLAlN'l`IFF also demands punitive damages, costs and attorncy's fees against the
DEFENDANT OFFICERS. PLAlN'l`IFF also demands whatever additional relief this Court
deems equitable and just.

C()UN'I` V
5 1983 Consniraev Claim

111. PLAINTIFF re-allcgcs paragraphs l _ 92 as though fully set forth herein
112. The albremcntioned actions of the DEFE.NDANT OFFICERS were the direct and
proximate cause of the violations of the United States Constitution, inter alia the Fourth
Amendment.
WllEREFOR_E, Pl.,AlNTll*`l*` demands compensatory damages from the DEFENDANT

OFFICER_S. Pl l13111‘~1T1FF also demands punitive damages, costs and attorney's fees against the

 

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DEFENDANT OFFICERS. l-‘LAINTIFF also demands whatever additional relief this Court

deems equitable and just.

COUNT VI
Conspiraev Claim - State Law

1 13. PLAlN'l`ll"F re-alleges paragraphs 1 - 92 as though fully set forth herein

114. The aforementioned actions were the direct and proximate cause of the violations of the
Constitution of the State oflllinois and lllinois law.

WllEREFORE, PLAIN '1`11-`"1"` demands compensatory damages from the DEFENDANT
OFFICERS. PLAINTIFF also demands punitive damages and costs against the DEFENDANT
Olr`lr`lClERS. PLAl'NTlFF also demands whatever additional relief this Court deems equitable
andjust.

C(]UNT Vll
§1983 LIABILITY OF DEFENDANTS. DALEY
CLINE, HILLARD. MORR_IS AND LIGHTFUOT

115. PLAINTIFF re-allege paragraphs l - 92 as though fully set forth herein.

116. Delendants Phillip Cline, ferry l'lillard, R.ichard Dalcy_, 'l`isa Morris and liori Lightfoot,
caused and participated in the deprivation of the constitutional rights of the PLAINTIFF.

117. Defendants Clll'NFl, H|L'LARD, MORRIS, DALEY and lilCil-l'l'l"OOT, at all times material
to this complaint, were aware that the City maintained a widespread and settled policy, practice
and custom of failing to properly supervise, monitor_, discipline, counsel and otherwise control its
police officers. These Defendants were also aware that the maintenance of these practices would
result in preventable police abuse.

113. These Defendants oversaw, cndorsed, condoned and acquiesced in the above-mentioned

policies, practices and customs and refused to take steps tc correct them.

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l 19. These Defendants, at all times material to this complaint, caused and facilitated the

systematic denial of PLAlNTlFF”s constitutional rights, by, among other things:

 

(a) failing to monitor police officers and groups who violate the constitutional rights of
citizens;

(b) failing to discipline police officers who engaged in constitutional rights violations;

(c) turning a blind eye to repeated and systemic abuses of the constitutional rights of
eiti'aens, including the PLAINTIFF; and

(d) failing to develop and implement an effective early warning system to identify police
officers and groups who systematically violate the constitutional rights ofcitizens.

120. These Defcndants werc_, at all times material to this complaint, deliberately indifferent to the
rights and safety of`Pl_,AlNTlFF, as evidenced by their acquiescence to and support of these
policies and their obvious consequencesl

`WHEREFORE, PLAll\l'l`lFF demands compensatory damages from DEFENDAN'I`S

l-‘H 11_1LlP CLINE, LOl~tl LlC`rl-ITFOO'I`, RICHARD DAl_,EY, 'l`lSA MORRIS and TERRY

l-lILLARl'). PLAlNTlFF also demands costs and attorney's fees against these l)efendants.

PLAlNTll"F also demands whatever additional relief this Court deems equitable and just.

COUNT VIII
wall Protcction - Member cfa Proteeted Class

121. PliAll~J'l`lFF re-allegcs paragraphs 1 -- 92 as though fully set forth herein
122. The actions of 'l`l-lE DEFENDANT OFFICERS violated the Equal Protection clause to
the United States Constitution.
123. The aforementioned actions of said OFFICER.S were the direct and proximate cause of
the constitutional violations set forth above.
Wl-lEREl*`(`JRE, PLAlN'ffFF demands compensatory damages from the DEFENDANT

()FFICERS. PLAlN'l`IFF also demands punitive damages, costs and attorney's fees against the

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DEFENDAN'l` fill"l41 lCER.‘:l. PLAlNTlFF also demands whatever additional relief this Court
deems equitable and just.

COUNT IX
Eoual Prctcction _ Class of Dne

124. Pl`rAlNTlFF re-alleges paragraphs l - 92 as though fttlly set forth herein.

125. The actions of Tl-ll_i l_`)l£l*`l-iNDANT ()FFICER.S violated the Equal Protection clause to
the United States Constitution

126. The aforementioned actions of said CJFFICERS were the direct and proximate cause of

the constitutional violations set forth above.

 

WHEREFORE, PLAIN'I`ll*`F demands compensatory damages from the DEFENDANT
OfFlCERS. PLAIN'I`IFF also demands punitive damages, costs and attorney's fees against the
DEF.ENDANT OFFICERS. PLAINTIFF also demands whatever additional relief this Court
deems equitable and just.

` COUNT X -Mene!l
127. PLA|`NTIFF re-alleges paragraphs l - 92 as though fully set forth herein

Wl IEREli`C)R]-r`, PLAINTIFF demands compensatory damages against thc Cl'l`Y GF
CHICAGO, costs and attorney's fees. PerINTlFF also demands whatever additional relief this
Court deems equitable and just.

COUNT XI
745 lILCS 10/9-102 Claim Against the CI'I"Y fill CHICAG()

128. PLAINTIFF re-alleges paragraphs l -- 92 as though fully set forth herein

129. Defendant CITY OF Cl"llCAGCt is the employer of the 13de ENDANT OFFlCERS

alleged above.

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130. 'l.`he DEFENDAN'l` ()FFICERS, as alleged above, committed the acts under color of law
and in the scope of employment of the Cl'l"r' OF Cl'llCAClU.

Wl-lEREFORE, should the DEFENDANT Ol"`li`lCERS be found liable for any of the
alleged counts in this cause, Pl.lAlNTlFF demands that, pursuant to 745 lLCS 10/9-102_, the
Cl'l`Y OF Cl'llCAGO pay PLAl'N"l`lFF any judgment obtained against the DF.FENDANT
UFFICERS as a result o f this complaint

M~u_.sn
S_upplementarv Clg_im for Resmmdeet Superior

131. PLAll\fl`lFF re-alleges paragraphs l - 92 as though fully set forth herein
132. The aforesaid acts of the DEFI:LNDANT OFFICH`RS were in the scope of employment
and therefore the Defendant ClTY OF Cl-llCAGO, as principal, is liable for the actions efits_
agent(s) under the doctrine of respondeat superior.
WHER_EFORE should the DEF]ENDANT OFFlCERS be found liable for any state claims
alleged herein, Plaintiff demands judgment against the ClTY OF Cl-llCAGO and such other

additional relief, as this Court deems equitable and just..

Plaintif`f` demands trial by jury.

lies sectfully submitted,

   

 

 

::_v;:`i‘:;`j__ j
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Blake l`-lorwitx

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